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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )
                            Plaintiff,            )
                                                  )
v.                                                )      Case No. 4:10CR3005
                                                  )
SKYLER SHAWN SPEAR,                               )
                                                  )
                            Defendant.            )

                                             ORDER

        THIS MATTER comes before the Court on defendant's Unopposed Motion to Continue

Plea Hearing, filing 35. The Court, being fully advised in the premises, and noting that the

government has no objection, finds that said Motion should be granted.

        IT IS THEREFORE ORDERED that the defendant’s plea hearing shall be continued

until the 2 nd day of June, 2010, at 1:00 p.m. The defendant is ordered to appear at said time.

This Court further finds that, based upon the showing set forth in defendant’s Motion, the ends

of justice will be served by continuing defendant’s plea hearing; and that continuing the plea

date in this case outweighs the best interest of the defendant and the public in a speedy trial.

Accordingly, the time from today’s date until the date next set shall be excludable time

pursuant to 18 U.S.C. §3161(h)(1)(G) and (h)(7)(A).

        DATED this 18 th day of May, 2010.

                                                  BY THE COURT:


                                                  s/ Cheryl R. Zwart
                                                  The Honorable Cheryl R. Zwart
                                                  United States Magistrate Judge
